Case 3:13-cr-00172-REP Document 199 Filed 03/06/15 Page 1 of 10 PageID# 1093




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division



UNITED STATES OF AMERICA,

v.                                                       Criminal No.         3:13crl72-01

MARVIN LEON CLAIR,

           Defendant.




                                   MEMORANDUM OPINION


      This     matter        is     before        the    Court       on    the      parties'

supplemental     pleadings          on     sentencing         in   accordance      with     the

Court's     December    5,    2014       Order.         For    the   reasons      set     forth

herein,    the   Government's            loss    and    gross      receipts      calculation

methods will be adopted for the Defendant's sentencing hearing.

                                    FACTUAL BACKGROUND


      Marvin Leon Clair pled guilty on September 10, 2014, with a

plea agreement,       to Conspiracy to Commit Mail Fraud, Wire Fraud,

and   Make    False     Statements          to    FDIC-Insured        Institutions,          in

violation of 18 U.S.C. § 371.                   By providing false information to

financial     institutions          during       the    mortgage      loan       application

process,     the Defendant qualified for loans that he might not

have otherwise received.                 When he defaulted on his loans,                   the

banks were left to recover whatever collateral value they could

through      foreclosure          sales.         The    losses       to    the     financial

institutions     were    compounded by the                downturn        in the    housing
Case 3:13-cr-00172-REP Document 199 Filed 03/06/15 Page 2 of 10 PageID# 1094




market,    which reduced the value of the collateral well below the

outstanding principal still due on the loans.

        Under    the    United    States       Sentencing       Guidelines          ("USSG"       or

"Guidelines"),         the     recommended sentence            for offenses          involving

fraud     or    deceit        depends    heavily        upon    the        amount     of        loss

attributable to the crime.               In addition,          there is an enhancement

available       when    the    defendant       derives    more       than       $1,000,000        in

gross    receipts       from    financial      institutions          as    a    result     of    the

offense.


        On December 5,         2014,    this    Court    requested briefing on the

propriety of the calculation methods employed by the Government

for determining loss and gross receipts under the Guidelines in

such     mortgage       fraud     cases.          This     opinion             resolves     those

questions ahead of the Defendant's sentencing hearing.

                                        DISCUSSION


I.      Mortgage Fraud Loss Calculation under USSG § 2B1.1(b)(1)

        Under USSG § 2B1.1(b)(1),              the offense level attributable to

the defendant's acts varies by the amount of loss caused by the

offense.        Generally,      this loss is determined to be the greater

of the intended loss or the "actual loss."                            See USSG § 2B1.1,

cmt n. 3(A).           Although the meaning of "intended loss" is rather

self-evident,          the     term     "actual    loss"        is        defined     as        "the

reasonably       foreseeable       pecuniary      harm     that       resulted       from        the

offense."        USSG    § 2B1.1,        cmt n.    3(A) (i).          To be        "reasonably
Case 3:13-cr-00172-REP Document 199 Filed 03/06/15 Page 3 of 10 PageID# 1095




foreseeable," the harm must be harm "that the defendant knew or,

under the circumstances,                 reasonably      should have known,              was a

potential        result       of   the    offense."         USSG      §     2B1.1,      cmt    n.

3(A)(iv).        In cases of fraud involving collateral pledged by the

defendant,       the amount of "actual loss" should be offset by the

amount    recovered from the             sale of     the   collateral.            See    USSG §

2B1.1,     cmt    n.    3(E)(ii).        Unlike    the     initial        determination        of

"actual     loss,"          which requires       that    the    losses       be     reasonably

foreseeable,           the    "credits     against      loss"     provision          does     not

require     that        the     amount     recovered       from       the    sale       of    the

collateral        be    reasonably       foreseeable.          See     United       States     v.

Mallory,    709 F.          Supp. 2d 455, 458 (E.D. Va. 2010) aff'd, 461 F.

App'x 352    (4th Cir.         2012).

     As the court in Mallory explained:

             Taken together,  these provisions                         teach a
             two-step approach for calculating                        the loss
             attributable           to a defendant  in            home loan
             fraud cases           such as this one.              The first
             step   is  to   calculate the   reasonably
             foreseeable pecuniary harm resulting from
             the        fraud.           This     amount       will       almost
             invariably include the full amount of unpaid
             principal on the fraudulently obtained loan,
             as        an    unqualified        borrower's      default        is
             clearly a reasonably foreseeable "potential
             result of the offense" within the meaning of
             Application Note 3(A) (iv).   After all, the
             entire   purpose   of    loan   qualification
             criteria is to reduce the risk to banks that
             debtors will default on their loans.   . . .
             Partial           recovery of  this   loss through
             seizure          and sale of collateral may reduce
             the net loss amount through operation of the
Case 3:13-cr-00172-REP Document 199 Filed 03/06/15 Page 4 of 10 PageID# 1096




              "credits against loss" provision,    but it
              does not diminish the foreseeability of the
              financial      institutions'              loss     of the unpaid
              principal amounts in the first instance.

              The   second         step    in      calculating             the        loss
              amount      requires       application           of    the    "credits
              against loss" provision.                      In applying               this
              provision,          courts        must       deduct          from        the
              calculated           loss         the        amount           actually
              recovered       or     actually           recoverable             by     the
              creditor from sale of                the     collateral.    This
              calculation  is  made                as      of  the   time   of
              sentencing and without regard for whether
              this amount was reasonably foreseeable by
              the        defendant.              Where         the         financial
              institutions  have   sold the  collateral,
              courts  should credit the amount actually
              recovered      in the       sale.        Where     the      collateral
              is held by the institution at the time of
              sentencing, then the fair market value of
              the collateral at the time of sentencing is
              properly credited instead.  By operation of
              Application Note 3(E)(ii), it is irrelevant
              whether      the     diminished         value      of       the    credit
              against      loss     was    reasonably            foreseeable            to
              defendant,      as    the    loss       of   the      entire       amount
              of   unpaid  principal    was   a   reasonably
              foreseeable    potential     consequence    of
              defendant's conduct.   Accordingly, defendant
              is only entitled to a credit against loss in
              the amount actually recovered by the                                   banks
              from sale of the subject properties.


Mallory,    709     F.     Supp.    2d     at     458-59.            This       Court        finds    the

reasoning of Mallory persuasive.                      To be "reasonably foreseeable"

under   the    Guidelines,          the     loss        need        not    be        the     likely    or

probable    aggregate        outcome       of     the      fraud,      only       an       outcome    the

defendant "should have known . . . was a potential result of the

offense."      USSG § 2B1.1,          cmt n.       3(A) (iv)          (emphasis added).                It
Case 3:13-cr-00172-REP Document 199 Filed 03/06/15 Page 5 of 10 PageID# 1097




is reasonably foreseeable that the potential loss could be any

amount    up   to     the   unpaid principal                  remaining       on       the     loan.      The

Defendant      need     not    -     and       indeed,        could     not    -       know     the     exact

quantum of the         final       loss       that would result               at       the time of the

offense.       However,       the Defendant surely knew that                              the value of

the    underlying      collateral          could         be   diminished           and that        default

would result in the loss of all unpaid principal.1

       For this reason,            it    is    inevitable that the loss calculation

and restitution calculation would yield the same amount, despite

the    fact    that    reasonable          foreseeability              is     applicable          only     in

the former case.2             This is because the Defendant could not only
reasonably       foresee       that           the     loss       of     any        remaining           unpaid



1 Although the Guidelines set punishment by quantum and the exact
quantum of the loss is admittedly unknowable to the Defendant at
the time of the offense,     the Defendant knew the range of
potential      losses       attributable            to     his      actions        and    is    therefore
liable for whatever final                       quantum falls within that range.
Notably, the rule defines                        "actual loss" as the reasonably
foreseeable pecuniary harm "that resulted from the offense."                                               To
determine that amount, the Court starts with whatever quantum in
fact    "resulted       from       the     offense"           and     then    determines           whether
that quantum was reasonably foreseeable (and cabins                                            it to the
extent the amount was not reasonably foreseeable).                                              The rule
does     not    require        the       Court        to      establish            a    fixed      quantum
foreseeable      at    the     time       of    the      offense       and    set        the    amount     of
loss equal to this prediction regardless of what losses actually
resulted from the offense.


2 Compare USSG § 2B1.1, cmt n. 3(A)(i)                              ("^Actual loss' means the
reasonably foreseeable pecuniary harm that resulted from the
offense.")  with   USSG  §  5E1.1(a)(1)   ("In the case of  an
identifiable victim, the court shall enter a restitution order
for the full amount of the victim's loss[.]").
Case 3:13-cr-00172-REP Document 199 Filed 03/06/15 Page 6 of 10 PageID# 1098




principal - whatever the quantum - was a potential result of the

offense, but because the loss of unpaid principal will,                                        in all

likelihood,     always      be      the       result    of        such        an    offense.         The

restitution owed will,              by virtue of the pledged collateral,                              be

reduced by the actual               sales       price        received          by the financial

institution disposing              of the      collateral,              and    an    offset    in the

exact amount of this later,                   unpredictable collateral sale value

is precisely what the credit against loss provision provides for

the loss calculation.              This unflinching accounting does not read

reasonable    foreseeability             out    of     the       loss     calculation          because

the   loss    of    principal            is    what      any        loan           applicant       could

reasonably expect to be a consequence of default.3

      Clair lied on loan applications about his income, which is

clearly a factor relevant                 to his ability to repay the loans.

See, e.g., Presentence Investigation Report                              [hereinafter,          "PSR"]

(Docket   No.      154)     SISl    20(11)-(14)              &    20(18)-(19).                As     the

Government observes, these statements were not slight inflations



  Because the loss of unpaid principal is reasonably foreseeable
to a defendant regardless of the type of fraud perpetrated, the
Government is correct to note that such distinctions do not work
any   difference     with      respect         to    the         loss    calculation           formula
itself.       However,      it      is    obvious          that         fraud        regarding       the
defendant's ability to meet all loan payment obligations                                             and
fraud regarding the value of the underlying collateral                                               are
qualitatively different kinds of fraud posing qualitatively
different kinds of risks to the loan's counterparty.         The
egregiousness of the fraud and the seriousness of the risk posed
to the counterparty are clearly among the factors                                        the       Court
should consider in its ultimate sentencing decision.
Case 3:13-cr-00172-REP Document 199 Filed 03/06/15 Page 7 of 10 PageID# 1099




of his income,           they were wholesale fabrications.                                 In addition,

many       of       the         fraudulent                 transactions                also        involved

misrepresentations              about       the      value        of       the   collateral.               See,

e.g.,    PSR (Docket No.            154)    SI 20(20)-(26).

        Because     of     these      misrepresentations,                    the     foreseeable           loss

was the unpaid principal on the loan.                                       This is a "potential"

result of the        Defendant's            fraud.             The harshness of this rule                    is

mitigated         (and     complemented)                  by     the        credits       against          loss

provision; however, the Court recognizes that application of the

Guidelines         may,        in     some           instances,              result        in      sentence

recommendations           that       fail       to    serve          the    ends     of    18     U.S.C.      §

3553(a).         Indeed,      there is something inherently troubling about

pegging the Defendant's prison term to the combined whims of the

Case-Shiller index             and the collateral sale timing - neither of

which     reflect        in    any        way    upon          the     Defendant's          culpability.

Although        courts        have        observed             that     any      other         rule    would

"encourage would-be fraudsters to roll the dice on the chips of

others,    assuming           all    of    the       upside       benefit        and      little      of    the

downside    risk,"        United States               v.       Turk,       626   F.3d      743,    750      (2d

Cir.    2010),     the     rule      adopted          eliminates            the moral           hazard     but

leaves     the    gamble        intact.              In    other       words,        a    defendant        who

engaged     in     the     same      fraudulent             behavior          with       the    same       loan

amount    could walk away with a negligible term of incarceration

based on the same roll of the dice.                                        Providing significantly
Case 3:13-cr-00172-REP Document 199 Filed 03/06/15 Page 8 of 10 PageID# 1100




different prison terms for essentially identical behavior could

hardly be considered "just."

        The    solution,             however,          is        not    to    avoid       individualized

instances of injustice by imposing a tortured interpretation of

the     Guidelines.                  Rather,          because          the    Guidelines         are   only

advisory, the Court is already endowed with the power to modify

the sentence prescribed in its discretion.

        Although the government appropriately uses the value of the

unpaid    principal             as    the       measure          of    foreseeable        loss    in   such

cases,    the Guidelines recommendation                                will commonly act as an

introduction          -        rather          than    a     conclusion         -    to    the     Court's

deliberations         over       a     suitable            term of        incarceration.          This    is

especially true where,                     as here,         a strict interpretation of the

rules    could    result             in    widely          disparate         sentences      for    similar

conduct       based       solely          on    market           forces      unrelated      to    criminal

culpability.              If    the       Court       is    to    assure      that    "defendants        who

fraudulently induce financial institutions . . . are responsible

for     the    natural          consequences                of     their      fraudulent         conduct,"

Mallory, 709 F. Supp. 2d at 459, then the Court must stand ready

to not only curtail overly punitive Guidelines recommendations,

but augment overly generous ones as well.
 Case 3:13-cr-00172-REP Document 199 Filed 03/06/15 Page 9 of 10 PageID# 1101




II.     Gross Receipts Calculation under USSG § 2Bl.l(b)(16)

        USSG    §§     2Bl.l(b) (16) (A)        &     (D)    provide        for    a two-point

enhancement when a defendant derives more than $1,000,000 in

gross    proceeds       from financial          institutions          as    a result       of the

offense       and    further     require    an       automatic       increase       in     offense

level to 24.          Application of this enhancement requires that the

defendant        individually       derive          $1,000,000        in     gross        proceeds
"obtained directly or indirectly as a result of such offense."

USSG § 2B1.1, cmt. n. 12(B).

        The Government has argued that the loan proceeds themselves

count    as gross       receipts     for calculation              purposes,         but    that   a

variance resulting in non-application of the enhancement might

be warranted where,            as here,     the "receipts" of the offense are

used to purchase collateral legally subject to the defendant's

continued debt obligations.                As with the loss calculation method

above,    this       appears    to strike           an appropriate balance.                  Gross

receipts       must      be      read      broadly           to      avoid        inadvertently
substituting "net          receipts"       in       its     place.         See    e.g.,     United

States v. Gharbi, 510 F.3d 550, 555 (5th Cir. 2007).                                    Moreover,

the Guidelines use expansive language that appears intended to

cast as wide a conceptual net as possible.                             USSG § 2B1.1, cmt.

n.    12(B)    (defining "gross receipts" to include "all property,
real or personal,              tangible    or intangible,              which       is     obtained

directly or indirectly as a result of [the] offense").                                   Although
                                                9
Case 3:13-cr-00172-REP Document 199 Filed 03/06/15 Page 10 of 10 PageID# 1102




this definition reaches the instant offense,                         the application of

the    rule   could be       tempered on a case-by-case basis.                     The Court

will    determine      the    appropriate     degree     of    variance,          if   any,    at

the Defendant's sentencing hearing.

                                         CONCLUSION


       For     the     foregoing        reasons,   the    Court           holds    that       the

Government's         loss    and   gross    receipts     calculation            methods       are

appropriate      under       the   circumstances.        The        Court   will       consider

all    factors       supporting     a   variance   sentence          at   the     Defendant's

sentencing hearing.

       It is   so ORDERED.




                                                              /s/           ue
                                    Robert E. Payne
                                    Senior United States District Judge

Richmond, Virginia
Date: March ^£, 2015




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